           Case 7:18-cv-06923-PMH
Case 7-18-cv-06923-PMH-JCM         Document
                               Document 165 166
                                             FiledFiled 05/18/22
                                                   in NYSD        Page 1 of 1 Page 1 of 1
                                                             on 05/18/2022




                                          Application granted.

    May 18, 2022                          SO ORDERED.                                    James M Marshall
                                                                                       914.872.7239 (direct)
                                                                             James.Marshall@wilsonelser.com
                                          _______________________
                                          Philip M. Halpern
                                          United States District Judge
   VIA ECF
                                          Dated: White Plains, New York
   Judge Philip M. Halpern                       May 18, 2022
   United States District Court
   Southern District of New York
   500 Pearl Street
   New York, New York 10007

                   Re:   Edwina Rance v. Jefferson Village Condominium No. 5 et al
                         Docket No.:      18-cv-6923
                         Our File No:     17158.00062

   Dear Judge Halpern:

   We represent defendants Jefferson Village Condominium No. 5 (”JVC5”) and McGrath
   Management Services Inc. (”McGrath”) (collectively ”Defendants”) in the above referenced
   matter. This letter is submitted with consent from plaintiff’s counsel.

   We respectfull request a 2-day extension for the submission of the Revised Joint Pre-Trial Order,
   from May 18, 2022 to May 20, 2022. Parties are engaging in settlement discussions and are very
   close to a settlement. The 2-day extension shall also give parties’ attorneys a real opportunity to
   engage their clients.

   We thank the Court for its attention to this matter. Should the Court wish to discuss further, we
   are available for a conference this week.

                                                Respectfully submitted,

                                                Wilson Elser Moskowitz Edelman & Dicker LLP

                                                /s/ James M Marshall
                                                  James M. Marshall
